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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

                                                                   CASE NO.: 6:19-bk-03529-CCJ
In Re:                                                             CHAPTER 7

Wally Norman Meek, and
Cecilia Jeanne Meek

      Debtors
_______________________________/


                        MOTION FOR RELIEF FROM AUTOMATIC STAY
                                  FILED BY FLAGSTAR

                                            NOTICE OF OPPORTUNITY TO

                                       OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or hearing
 unless a party in interest files a response within twenty-one (21) days from the date set forth on the attached proof of
 service plus an additional three (3) days for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of Court at 400 West
 Washington Street, Suite 5100, Orlando, Florida 32801, and serve a copy on the movant’s attorney Jason Weber, Esq.
 at Sirote & Permutt, P.C., 1000 Corporate Drive, Suite 150, Ft. Lauderdale, Florida 33334, and any other appropriate
 persons within the time allowed. If you file and serve a response within the time permitted, the Court will either schedule
 and notify you of a hearing, or consider the response and may grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief requested
 in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief requested.




         COMES NOW Flagstar Bank, FSB, its principals, investors, successors, and/or assigns, if

any, (hereinafter "Secured Creditor"), by and through its undersigned counsel of record, Sirote &

Permutt, P.C., and moves this Honorable Court to lift the automatic stay in the above-referenced

Debtors’ Chapter 7 bankruptcy and in support thereof, the Creditor avers as follows:

    1. This Honorable Court has jurisdiction to hear these matters and enter final orders pursuant

         to 28 U.S.C. §§ 157 and 1334; and 11 U.S.C. § 362. The Motion for Relief from Automatic
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   Stay constitutes a core proceeding and is a contested matter pursuant to Fed. R. Bankr. P.

   4001(a) and 9014.

2. Debtors listed above (the “Debtors”) filed a voluntary petition pursuant to Chapter 7 of the

   Bankruptcy Code on May 29, 2019.

3. The Debtors obtained a loan in the amount of $171,905.00 which was evidenced by a

   Promissory Note dated November 23, 2010 (the “Note”). See “Exhibit A” attached hereto.

4. Wally Meek and Cecilia Jeanne Meek, husband and wife, executed a Mortgage dated

   November 23, 2010 (the “Mortgage”), to and in favor of Fidelity First Home Mortgage

   Company, and granted a first mortgage lien on real property (the “Property”) located at

   1903 Aster Rd, Rosedale, Maryland 21237-1301, and legally described as:




5. The Mortgage was recorded at Liber 0030239, Folio 106 of the Public Records of

   Baltimore County, Maryland. See “Exhibit B” attached hereto.

6. Debtors are indebted to Secured Creditor in the amount of $146,749.99 principal balance,

   plus any additional interest, advances, costs and attorneys’ fees advanced by Secured

   Creditor, pursuant to the loan documents. See “Exhibit C” attached hereto.
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7. The Debtors have failed to remit payment to Secured Creditor since the installment due on

   October 1, 2018 and, therefore, the interests of Secured Creditor are not being adequately

   protected.

8. Upon information and belief, said property has not been claimed exempt and pursuant to

   the duly filed Statement of Intentions, the property is being surrendered. The property has

   not been abandoned by the Trustee.

9. Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1) for the

   automatic stay to be lifted to allow Secured Creditor to pursue in rem remedies given that

   its interests are not being adequately protected due to the failure of the Debtor(s) to make

   payments prior to the filing of the instant bankruptcy petition and that there is no equity in

   the subject property for the benefit of unsecured creditors of the estate.

10. Furthermore, Secured Creditor’s security interest in the property is being significantly

   jeopardized by the Debtor(s) failure to make said payments while Secured Creditor is

   prohibited from pursuing lawful remedies to protect said security interest.

11. Secured Creditor has incurred attorneys’ fees of $750.00 and costs of $181.00 as a result

   of having to file this Motion. Secured Creditor seeks an award of its fees and costs or,

   alternatively, leave to seek recovery of its reasonable bankruptcy attorneys’ fees and costs

   in any pending or subsequent foreclosure action.

12. Secured Creditor respectfully requests the Court waives the fourteen (14) day stay of the

   Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3), so Secured Creditor can

   pursue its in rem remedies without delay.

13. Pursuant to 11 U.S.C. § 362(e), Secured Creditor hereby requests that in the event a hearing

   is necessary that one be held within thirty (30) days.
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   14. Permitting Movant to offer and provide Debtors with information regarding a potential

       Forbearance Agreement, short sale, deed in lieu, loan modification, Refinance Agreement,

       or other loan workout/loss mitigation agreement, and to enter into such agreement with

       Debtors without further order of the court.

   WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted so

that it may pursue in rem remedies to protect its security interests in the Debtor(s) property outside

of the bankruptcy forum, that the fourteen (14) day stay of the Order Granting Relief pursuant to

Bankruptcy Rule 4001(a)(3) be waived, that Secured Creditor be awarded its attorneys’ fees and

costs for filing this Motion, that in the event a hearing is necessary that one be held within thirty

(30) days, that the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code, that Secured Creditor have

relief from applicable provisions of FRBP 3002.1 and for such other relief as the Court may deem

just and proper.


   I HEREBY CERTIFY in accordance with Fed. R. Bankr. P. 4001(a), 9014, and 7004 that a

copy of the above and foregoing Motion for Relief from the Automatic Stay was mailed, first class

postage prepaid and or by Electronic Filing this ______        June
                                                  18th day of _____________, 2019.


                                                       Respectfully submitted,

                                                      /s/Jason A. Weber
                                                      Jason A. Weber, Esq.
                                                      Fla. Bar No. 0051681
                                                      Counsel for Secured Creditor
SIROTE & PERMUTT, P.C.
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Copies furnished to:

Debtor
Wally Norman Meek
5641 Mary Drive
Daytona Beach, FL 32127

Joint Debtor
Cecilia Jeanne Meek
5641 Mary Drive
Daytona Beach, FL 32127

Justin S W McMurray
Law Offices of Justin McMurray PA
10175 Fortune Parkway, Suite 502
Jacksonville, FL 32256
Email: bk@lojmpa.com

Trustee
Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
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